                       Case 1:21-sw-00036-RMM Document 1 Filed 02/02/21 Page 1 of 48
 AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                                 District of&ROXPELD
                In the Matter of the Search of
           (Briefly describe the property to be searched
                                                   )
            or identify the person by name and address)
                                                   )
ROSE GOLD IPHONE 6S WITH WHITE FRONT, MODEL        )                                         Case No. 21-SW-36
1688, FCC ID: BCG-E2946A, CURRENTLY LOCATED AT 601 )
4TH STREET NW, WASHINGTON, D.C. 20535, UNDER RULE )
41                                                 )

      APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
 property to be searched and give its location):
        6HH$WWDFKPHQW$
                          District of Columbia
  /RFDWHGLQWKHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB, there is now concealed (identify the SHUVRQRUGHVFULEHWKH
  SURSHUW\WREHVHL]HG 

        6HH$WWDFKPHQW%

            The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  ✔ evidence of a crime;
                  u
                  ✔ contraband, fruits of crime, or other items illegally possessed;
                  u
                  uproperty designed for use, intended for use, or used in committing a crime;
                  u a person to be arrested or a person who is unlawfully restrained.
            The search is related to a violation of:
             Code Section                                             Offense Description
           18 U.S.C. § 111(a)(1) - Assault on Federal Officer; 18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement
           During Civil Disorder; 40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds.

            The application is based on these facts:
              See Affidavit in Support of Application for Search Warrant.

            Y Continued on the attached sheet.
            u
            u Delayed notice of       days (give exact ending date if more than 30 days:                                 ) is   requested under
              18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant’s signature

                                                                                                Jonathan Fugitt, Special Agent
                                                                                                      Printed name and title

 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
 7HOHSKRQH                                             (specify reliable electronic means).

              2/2/2021
 Date:
                                                                                                                   Judge’s signature

 City and state:            :DVKLQJWRQ'&                                                         ROBIN M. MERIWEATHER
                                                                                                   8QLWHG6WDWHV0DJLVWUDWH-XGJH
                          Case 1:21-sw-00036-RMM Document 1 Filed 02/02/21 Page 2 of 48
                                                                                      ✔ Original
                                                                                      u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                          for the
                                                                    'LVWULFWRI&ROXPELD
                  In the Matter of the Search of
                                                   )
             (Briefly describe the property to be searched
                                                   )
              or identify the person by name and address)
ROSE GOLD IPHONE 6S WITH WHITE FRONT, MODEL        )                                Case No. 21-SW-36
1688, FCC ID: BCG-E2946A, CURRENTLY LOCATED AT 601 )
4TH STREET NW, WASHINGTON, D.C. 20535, UNDER RULE
                                                   )
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41
                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
            An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
                                                                                      District of Columbia
 of the following person or property located in theBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
(identify the person or describe the property to be searched and give its location):

See Attachment A (incorporated by reference).




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B (incorporated by reference).




        YOU ARE COMMANDED to execute this warrant on or before                February 15, 2021        (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.
                                               ✔

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                 ROBIN M. MERIWEATHER_                       .
                                                                                                   (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .

                                  2/2/2021
Date and time issued:
                                                                                                                 Judge’s signature

City and state:                      Washington, D.C.                                          ROBIN M. MERIWEATHER
                                                                                               8QLWHG6WDWHV0DJLVWUDWH-XGJH
                           Case 1:21-sw-00036-RMM Document 1 Filed 02/02/21 Page 3 of 48
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
21-SW-36
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                     ATTACHMENT A

                                   Property to be searched

The property to be searched is:

           Rose Gold iPhone 6S with white front, Model 1688, FCC ID: BCG-E2946A,
           telephone number (202) 607-7210 (“Device-1”),

which is currently located at 601 4th Street NW, Washington, D.C. 20535.
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                                        ATTACHMENT B

                                        Property to be seized

       1.      The information and data to be seized are fruits, evidence, information relating to,

contraband, or instrumentalities, in whatever form and however stored, relating to violations of 18

U.S.C. §§ 231(a)(3), 111(a)(1), 1752(a)(4) and 40 U.S.C. § 5104(e)(2)(F) (the “Target Offenses”),

as described in the search warrant affidavit, including, but not limited to: call logs, phone books,

photographs, voice mail messages, text messages, images and video, Global Positioning System

data, and any other stored electronic data that relates to:

            a. Records and information relating to travel to the Washington D.C. area on or about
               January 6, 2021, including but not limited to evidence of gasoline and restaurant
               receipts;

            b. Records and information relating to unlawfully entering the U.S. Capitol, including
               any photographs and videos of the property of the U.S. Capitol Building or
               Grounds, and any maps or diagrams of the same;

            c. Records and information relating to awareness of the official proceeding that was
               to take place at Congress on January 6, 2021, i.e., the certification process of the
               2020 Presidential Election;

            d. Records and information relating to efforts to disrupt the official proceeding that
               was to take place at Congress on January 6, 2021, i.e., the certification process of
               the 2020 Presidential Election;

            e. Records and information relating to a conspiracy to illegally enter and/or occupy
               the U.S. Capitol Building on or about January 6, 2021;

            f. Records and information relating to the breach and unlawful entry of the United
               States Capitol, and any conspiracy or plan to do so, on January 6, 2021;

            g. Records and information relating to the riot and/or civil disorder at the United States
               Capitol on January 6, 2021;



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 h. Records and information relating to the assaults of federal officers/agents and
    efforts to impede such federal officers/agents in the performance of their duties the
    United States Capitol on January 6, 2021;

 i. Records and information relating to any conspiracy, planning, or preparation to
    commit the Target Offenses;

 j. Records and information relating to BLAIR’s state of mind with respect to
    members of the United States Congress and Senate, law enforcement in
    Washington, D.C., and/or United States Government officials;

 k. Records and information relating to the layout of the U.S. Capitol and other United
    States Government buildings in Washington, D.C.;

 l. Records and information relating to BLAIR’s state of mind with respect to the U.S.
    Congress, the 2020 presidential election, the January 6, 2021 certification of the
    2020 presidential election, and the January 20, 2021 presidential Inauguration;

 m. Other evidence of the state of mind of BLAIR and/or co-conspirators, e.g., intent,
    absence of mistake, or evidence indicating preparation or planning, or knowledge
    and experience, related to the Target Offenses; and

 n. Evidence concerning the identity of persons who either (i) collaborated, conspired,
    or assisted (knowingly or unknowingly) the commission of the criminal activity
    under investigation; or (ii) communicated with the unlawful actors about matters
    relating to the Target Offenses, including records and information that help reveal
    their whereabouts.

 o. Records and information relating to interest or participation in, or associations with
    other individuals, to include communications between BLAIR and other
    individuals who may have assisted or provided support which would constitute
    evidence of the Target Offenses;

 p. Communications relating to conspiracy, interest, planning or preparation to commit
    the target offenses, to include communications between BLAIR and other
    individuals who may have collaborated, conspired assisted (knowingly or
    unknowingly) or otherwise provided support to BLAIR and/or his co-actors in
    committing the target offenses, or communicated with BLAIR about matter relating
    to the Target Offenses;




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 q. Photographs or videos documenting BLAIR’s presence in Washington, D.C., on
    January 6, 2021, or that contains photographs or videos documenting the actions
    and presence of others at or near the U.S. Capitol on January 6, 2021;

 r. Photographs or videos documenting a black jacket, grey sweatshirt, white long
    sleeved shirt, khaki pants, grey and black sneakers, tan and black gloves, black belt
    or a black in color bag with “TEMPO” in yellow block lettering and light in color
    drawstrings;

 s. Photographs or videos documenting confederate flags and lacrosse sticks;

 t. Evidence of who used, owned, or controlled Device-1 at the time the things
    described in this warrant were created, edited, or deleted, such as logs, registry
    entries, configuration files, saved usernames and passwords, documents, browsing
    history, user profiles, email, email contacts, chat, instant messaging logs,
    photographs, and correspondence;

 u. Evidence of software, or the lack thereof, that would allow others to control Device-
    1, such as viruses, Trojan horses, and other forms of malicious software, as well as
    evidence of the presence or absence of security software designed to detect
    malicious software;

 v. Evidence of the attachment to Device-1 of other storage devices for electronic data;

 w. Evidence of counter-forensic programs (and associated data) that are designed to
    eliminate data from Device-1;

 x. Evidence of the times Device-1 was used in connection with the Target Offenses;

 y. Passwords, encryption keys, and other access devices that may be necessary to
    access Device-1;

 z. Documentation and manuals that may be necessary to access Device-1 or to
    conduct a forensic examination of Device-1;

 aa. Records of or information about Internet Protocol addresses used by Device-1 in
     connection with the Target Offenses; and

 bb. Records of or information about Device-1’s Internet activity, in connection with
     the Target Offenses, including firewall logs, caches, browser history and cookies,


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    “bookmarked” or “favorite” web pages, search terms that the user entered into any
    Internet search engine, and records of user-typed web addresses.




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF
 ROSE GOLD IPHONE 6S WITH WHITE
 FRONT, MODEL 1688, FCC ID: BCG-
 E2946A, CURRENTLY LOCATED AT 601
 4TH STREET NW, WASHINGTON, D.C.                     No. 21-SW-36
 20535, UNDER RULE 41




            AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
                    FOR A WARRANT TO SEARCH AND SEIZE

       I, Jonathan B. Fugitt, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a search warrant authorizing the examination of Device-1, which is

currently in law enforcement possession as described in Attachment A, and the extraction from

that property of electronically stored information, as described in Attachment B.

       2.      I am a Special Agent with the Federal Bureau of Investigation. I have been in this

position since January of 2017. I am currently assigned to the Washington, D.C. Cross Border

Task Force, which is a squad that investigates violent gangs and drug trafficking and is located at

the Washington, D.C. Field Office (“WFO”) of the FBI. I have been assigned to this squad since

June, 2017. As part of my duties as an FBI Special Agent, I investigate criminal violations relating

to narcotics trafficking, firearms trafficking, violent incidents, and gang related matters. These

violations can include the use of violence, committing violence, or attempting to commit violence

in support of narcotics trafficking, firearms trafficking, and/or gang related matters. In addition,


                                                 1
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these violations can include conspiracy to traffic narcotics and/or firearms. Based on your affiant’s

training and experience, your affiant knows that individuals involved in criminal activity often

communicate about their criminal activity over cellular telephones, including via text messages,

telephone calls, telephone applications (“apps”), and through various social media accounts. A

variety of data is thus captured by the cellular telephone being used to send and receive such

electronic data, including communication logs, packet data, location data associated with the

account, and the content of certain communications. Thus, cellular telephones often retain

electronic information that will assist law enforcement in identifying individuals involved in

criminal activity, their respective involvement in criminal activity, and where they were located at

specific times. As a federal agent, I am authorized to investigate violations of laws of the United

States, and as a law enforcement officer I am authorized to execute warrants issued under the

authority of the United States.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

       4.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 18 U.S.C. §§ 231(a)(3),

111(a)(1), 1752(a)(4) and 40 U.S.C. § 5104(e)(2)(F) (the “Target Offenses”), have been committed

by DAVID BLAIR (“BLAIR”). There is also probable cause to search Device-1, further described

below and in Attachment A, for the things described in Attachment B.




                                                  2
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       5.      The property to be searched is a Rose Gold iPhone 6S with white front, Model

Model 1688, FCC ID: BCG-E2946A, telephone number (202) 607-7210 (“Device-1”).

Device-1 is currently located at 601 4th Street NW, Washington, DC 20535. Device-1 were

seized during an execution of a search warrant at BLAIR’s residence on or about January 22,

2021 (as detailed below).

                                          PROBABLE CAUSE

                      Background – The U.S. Capitol on January 6, 2021

       6.      USCP, the FBI, and assisting law enforcement agencies are investigating a riot and

related offenses that occurred at the United States Capitol Building, located at 1 First Street, NW,

Washington, D.C. 20510, at latitude 38.88997 and longitude -77.00906 on January 6, 2021.

       7.      At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square feet

of ground, roughly four acres. The building is 751 feet long (roughly 228 meters) from north to

south and 350 feet wide (106 meters) at its widest point. The U.S. Capitol Visitor Center is 580,000

square feet and is located underground on the east side of the Capitol. On the west side of the

Capitol building is the West Front, which includes the inaugural stage scaffolding, a variety of

open concrete spaces, a fountain surrounded by a walkway, two broad staircases, and multiple

terraces at each floor. On the East Front are three staircases, porticos on both the House and Senate

side, and two large skylights into the Visitor’s Center surrounded by a concrete parkway. All of

this area was barricaded and off limits to the public on January 6, 2021.

       8.      The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the U.S.

Capitol include permanent and temporary security barriers and posts manned by USCP. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.



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       9.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       10.       On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol.     During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the U.S.

Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which

took place on November 3, 2020 (“Certification”). The joint session began at approximately 1:00

p.m. Eastern Standard Time (EST). Shortly thereafter, by approximately 1:30 p.m., the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       11.       As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

       12.       At around 1:00 p.m. EST, known and unknown individuals broke through the police

lines, toppled the outside barricades protecting the U.S. Capitol, and pushed past USCP and

supporting law enforcement officers there to protect the U.S. Capitol.

       13.       At around 1:30 p.m. EST, USCP ordered Congressional staff to evacuate the House

Cannon Office Building and the Library of Congress James Madison Memorial Building in part

because of a suspicious package found nearby. Pipe bombs were later found near both the

Democratic National Committee and Republican National Committee headquarters.



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       14.     Media reporting showed a group of individuals outside of the Capitol chanting,

“Hang Mike Pence.” I know from this investigation that some individuals believed that Vice

President Pence possessed the ability to prevent the certification of the presidential election and

that his failure to do so made him a traitor.

       15.     At approximately 2:00 p.m., some people in the crowd forced their way through,

up, and over the barricades and law enforcement. The crowd advanced to the exterior façade of

the building. The crowd was not lawfully authorized to enter or remain in the building and, prior

to entering the building, no members of the crowd submitted to security screenings or weapons

checks by U.S. Capitol Police Officers or other authorized security officials. At such time, the

certification proceedings were still underway and the exterior doors and windows of the U.S.

Capitol were locked or otherwise secured. Members of law enforcement attempted to maintain

order and keep the crowd from entering the Capitol.

       16.     Shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. Publicly available video footage shows an unknown

individual saying to a crowd outside the Capitol building, “We’re gonna fucking take this,” which

your affiant believes was a reference to “taking” the U.S. Capitol.




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       17.     Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. That is, at or about this time,

USCP ordered all nearby staff, Senators, and reporters into the Senate chamber and locked it down.

USCP ordered a similar lockdown in the House chamber. As the subjects attempted to break into

the House chamber, by breaking the windows on the chamber door, law enforcement were forced

to draw their weapons to protect the victims sheltering inside.

       18.     At approximately 2:30 p.m. EST, known and unknown subjects broke windows and

pushed past USCP and supporting law enforcement officers forcing their way into the U.S. Capitol

on both the west side and the east side of the building. Once inside, the subjects broke windows

and doors, destroyed property, stole property, and assaulted federal police officers. Many of the



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federal police officers were injured, several were admitted to the hospital, and at least one federal

police officer died as a result of the injuries he sustained. The subjects also confronted and

terrorized members of Congress, Congressional staff, and the media. The subjects carried weapons

including tire irons, sledgehammers, bear spray, and Tasers. They also took police equipment

from overrun police including shields and police batons. At least one of the subjects carried a

handgun with an extended magazine. These actions by the unknown individuals resulted in the

disruption and ultimate delay of the vote Certification.

          19.   Also at approximately 2:30 p.m. EST, USCP ordered the evacuation of lawmakers,

Vice President Mike Pence, and president pro tempore of the Senate, Charles Grassley, for their

safety.

          20.   At around 2:45 p.m. EST, subjects broke into the office of House Speaker Nancy

Pelosi.

          21.   At around 2:47 p.m., subjects broke into the United States Senate Chamber.

Publicly available video shows an individual asking, “Where are they?” as they opened up the door

to the Senate Chamber. Based upon the context, law enforcement believes that the word “they” is

in reference to members of Congress.




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       22.    After subjects forced entry into the Senate Chamber, publicly available video shows

that an individual asked, “Where the fuck is Nancy?” Based upon other comments and the context,

law enforcement believes that the “Nancy” being referenced was the Speaker of the House of

Representatives, Nancy Pelosi.




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       23.    An unknown subject left a note on the podium on the floor of the Senate Chamber.

This note, captured by the filming reporter, stated “A Matter of Time Justice is Coming.”




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       24.    During the time when the subjects were inside the Capitol building, multiple

subjects were observed inside the US Capitol wearing what appears to be, based upon my training

and experience, tactical vests and carrying flex cuffs. Based upon my knowledge, training, and

experience, I know that flex cuffs are a manner of restraint that are designed to be carried in

situations where a large number of individuals were expected to be taken into custody.




                                               10
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       25.     At around 2:48 p.m. EST, DC Mayor Muriel Bowser announced a citywide curfew

beginning at 6:00 p.m.

       26.     At around 2:45 p.m. EST, one subject was shot and killed while attempting to break

into the House chamber through the broken windows.

       27.     At about 3:25 p.m. EST, law enforcement officers cleared the Senate floor.

       28.     Between 3:25 and around 6:30 p.m. EST, law enforcement was able to clear the

U.S. Capitol of all of the subjects.

       29.     Based on these events, all proceedings of the United States Congress, including the

joint session, were effectively suspended until shortly after 8:00 p.m. the same day. In light of the

dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the danger

posed by individuals who had entered the U.S. Capitol without any security screening or weapons


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check, Congressional proceedings could not resume until after every unauthorized occupant had

left the U.S. Capitol, and the building had been confirmed secured. The proceedings resumed at

approximately 8:00 pm after the building had been secured. Vice President Pence remained in the

United States Capitol from the time he was evacuated from the Senate Chamber until the session

resumed.

       30.     Beginning around 8:00 p.m., the Senate resumed work on the Certification.

       31.     Beginning around 9:00 p.m., the House resumed work on the Certification.

       32.     Both chambers of Congress met and worked on the Certification within the Capitol

building until approximately 3 a.m. on January 7, 2021.

       33.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

       34.     Based on my training and experience, I know that it is common for individuals to

carry and use their cell phones during large gatherings, such as the gathering that occurred in the

area of the U.S. Capitol on January 6, 2021. Such phones are typically carried at such gatherings

to allow individuals to capture photographs and video footage of the gatherings, to communicate

with other individuals about the gatherings, to coordinate with other participants at the gatherings,

and to post on social media and digital forums about the gatherings.

       35.     Many subjects seen on news footage in the area of the U.S. Capitol are using a cell

phone in some capacity. It appears some subjects were recording the events occurring in and

around the U.S. Capitol and others appear to be taking photos, to include photos and video of



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themselves after breaking into the U.S. Capitol itself, including photos of themselves damaging

and stealing property. As reported in the news media, others inside and immediately outside the

U.S. Capitol live-streamed their activities, including those described above as well as statements

about these activities.

       36.        Photos below, available on various publicly available news, social media, and other

media show some of the subjects within the U.S. Capitol during the riot. In several of these photos,

the individuals who broke into the U.S. Capitol can be seen holding and using cell phones,

including to take pictures and/or videos:




                                                                                                            1




       1
           https://losangeles.cbslocal.com/2021/01/06/congresswoman-capitol-building-takeover-an-attempted-coup/




                                                       13
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                                                                                                                 2




                                                                                                             3




        2
            https://www.businessinsider.com/republicans-objecting-to-electoral-votes-in-congress-live-updates-2021-
1.

        https://www.thv11.com/article/news/arkansas-man-storms-capitol-pelosi/91-41abde60-a390-4a9e-b5f3-
        3

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                                     Facts Specific to This Application

             38.    On January 6, 2021, during the above-referenced events, Officer K.P. (“K.P.”) of

  the Washington D.C. Metropolitan Police Department (“MPD”) was working his4 evening shift

  in his official capacity. During that shift, MPD Officer K.P. was directed to report to the U.S.

  Capitol building to assist the U.S. Capitol Police in their duties to maintain security of the U.S.

  Capitol building.

             39.    Between 5:00 pm and 6: 00 pm, K.P., along with MPD CDU (Civil Disobedience

  Unit) 63, formed a line at the west terrace of the U.S. Capitol building and began moving towards

  the west lawn to move individuals off Capitol grounds. CDU 63 chanted “move back” as it

  ordered the crowd of individuals on the west lawn to move west and away from the U.S. Capitol

  building. See the map below:




         4
          Unless otherwise stated, for the safety of victims and witnesses, victims and confidential sources of
information are referred to using male pronouns (regardless of gender) and conversations about victims and
confidential sources of information have been altered as necessary to reflect male pronouns.




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       40.    CDU 63 advanced on the crowd as a line and managed to create space between

the officers and the crowd. At 5:47 pm, while still on the west lawn, BLAIR positioned himself

between the officers and the crowd and began to walk in the space while waiving a Confederate

flag attached to what BLAIR later admitted was a lacrosse stick. Below are screen shots from

K.P.’s body worn camera depicting BLAIR waiving the Confederate flag while standing in front

of the crowd that was pushed back on the west lawn:




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       41.    While walking back and forth in the space between officers and the crowd,

BLAIR yelled words to the effect of, “hell naw, quit backing up, don’t be scared, we’re

Americans, don’t be scared, let’s go quit backing up, quit being scared.” As officers advanced,

K.P. shoved BLAIR back toward the crowd using his baton. BLAIR jumped back and turned to

face K.P while squaring up his body to stand in front of K.P. BLAIR held the lacrosse stick

attached to the Confederate flag with two hands and started shouting, “what’s up motherfucker,

what’s up, what’s up bitch?” Below are screen shots from K.P.’s body worn camera depicting

BLAIR holding the stick with both hands:




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       42.     BLAIR thrust the stick at K.P towards the chest area, striking him. Immediately

thereafter, several officers were able to restrain BLAIR on the ground using their batons. BLAIR

was then removed from the west lawn and transported closer to the U.S. Capitol building where

his arrest would be processed. While in handcuffs and not in response to any questions prompted

by any members of MPD, BLAIR stated words to the effect of “I understand, what I did, the one




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motherfucker swung at me so I kinda switched...so I apologize, we’re done though.” BLAIR

provided MPD with a phone number ending in -7210.

       43.     MPD transported BLAIR to the U.S. Capitol building, where he was searched

before he was turned over to USCP for processing. During the search incident to arrest, a black

bag with “TEMPO” in yellow block lettering and light in color drawstrings was recovered from

BLAIR’s back. Within the bag, MPD recovered a silver knife, which BLAIR explained he had

on him “cause I was worried about Antifa and other people trying to jump me.” Additional items

were also recovered from the bag, including tape, which BLAIR acknowledged “looks damn

suspicious” and BLAIR explained “I had a flag with me, I taped it.”

       44.     While in USCP custody, BLAIR was transported to George Washington Hospital

for a laceration to his head sustained after officers responded with batons following BLAIR’s

attack on K.P. BLAIR was then transported to the United States Capitol Police station, where

his arrest was processed. At the time of BLAIR’s processing at 1:41 am on January 7, 2021, an

iPhone with a white frame was recovered from BLAIR’s black bag and recorded as part of his

prisoner’s property. Below is a screenshot from the USCP stationhouse video depicting BLAIR

in the white long sleeved shirt, with the white iPhone recovered from his black bag:




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       45.    In a notarized letter signed on January 9, 2021, BLAIR provided his mother, Gaye

L. Blair, with permission to recover his property. USCP confirmed that Gaye L. Blair picked up

property for David BLAIR, which included BLAIR’s cell phone. A photocopy of Gaye L.

Blair’s Maryland driver’s license was taken by USCP, which lists her address as 2195 Sugarloaf

Parkview Lane, Clarksburg, Maryland 20871. Information from Maryland’s driver’s license

issuing agency confirms that a David Alan BLAIR is listed as residing at 2195 Sugarloaf

Parkview Lane, Clarksburg, Maryland 20871. This is the same address listed for Gaye L. Blair,

the person identified in the notarized letter as being David BLAIR’s mother and authorized to

pick up BLAIR’s property.




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                     Search of BLAIR’s Residence and Seizure of Device-1

           46.   Device-1 was seized by the FBI on January 22, 2021, pursuant to a search warrant

 authorizing the search of BLAIR’s residence, located at 2195 Sugarloaf Parkview Lane,

 Clarksburg, Maryland 20871.5

           47.   On January 22, 2021, your affiant participated in the execution of the Premises

 Search Warrant. When the FBI agents arrived, both occupants of the residence, BLAIR and his

 mother Gaye L. Blair (“Ms. Blair”) were awake.

           48.   When agents went to what was identified as BLAIR’s bedroom, there were only

 damaged, older model cellular phones located in the bedroom. The bed was covered with items

 many of which agents were authorized to seize pursuant to the Premises Search Warrant. BLAIR

 volunteered that he had done this because “he figured that [we’d] be coming and these were what

 you were looking for,” or words to that effect.

           49.   Ms. Blair identified her bedroom to law enforcement but explained that BLAIR

 had fallen back asleep in her bedroom, or words to that effect. Upon entering that bedroom, the

 agents noticed two cellular phones on the nightstand.

           50.   Your affiant retrieved an iPhone from the nightstand to identify whether it was a

 cellular phone used by BLAIR and subject to seizure. Your affiant anticipated he would find an



       5
         The search warrant was issued by United States Magistrate Judge Thomas M.
DiGirolamo for the District of Maryland, 1:21-mj-162-TMD (the “Premises Search Warrant”).
The pertinent paragraphs of your affiant’s Affidavit in support of the Premises Search Warrant
are realleged at ¶¶ 7 - 45 of this Affidavit. The Premises Search Warrant authorized the seizure
of digital devices as follows: “[a]n iPhone with a white frame, as well as other digital devices
(herein collectively referred as “Devices”) used in the commission of, or to facilitate, the
TARGET OFFENSES.”



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Apple iPhone, which, based upon review of the station house video, was believed to have a white

front. The iPhone on the night stand had a white front but the back was a different color, which

Apple markets as “Rose Gold.” To identify whether the iPhone was BLAIR’s, I asked Ms. Blair

for BLAIR’s telephone number. Using her cellular phone, she then dialed the same number that

BLAIR provided to MPD the night of his arrest, the iPhone rang, and the caller displayed on the

iPhone as “Mom.” On this basis, agents seized that iPhone, more particularly described as a

Rose Gold iPhone 6S with a white front, Model 1688, FCC ID: BCG-E2946A, telephone number

(202) 607-7210 (Device-1).

       51.     The other phone on the nightstand was a black flip phone, which was powered

on. When asked, Ms. Blair said the flip phone belonged to her, but that she had stopped using

the flip phone a while ago. She consented to a search of the phone.

       52.     Your affiant reviewed text messages in the phone, and until approximately June

2020, they seemed consistent with the flip phone being used by Ms. Blair. I then found a text

message which was not consistent with the earlier messages, and became concerned that BLAIR

might have begun using the flip phone. Your affiant recalls seeing the word “son” in the text

message that appeared to be directed to the user of the flip phone, potentially indicating that the

message may have been directed to BLAIR from his father. In the same text thread with the

phone number indicated above, your affiant also observed a link that was sent to the user of the

flip phone regarding Capitol activity from January 6, 2021. As I no longer believed I had consent

to search, I closed the flip phone.

       53.     Agents recovered the box for the flip phone in the basement, adjacent to a work

space which appeared to be BLAIR’s place to work on his rifle.        Inside the box was a post-it



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on which the phrase “my burner phone” was written along with the phone number for the flip

phone. When asked, Ms. Blair stated that she had written the phrase “my burner phone” on the

post-it.

           54.   On the basis that the flip phone was on the night stand next to BLAIR’s iPhone,

powered on (even though Ms. Blair stated she no longer used the phone), and the box for the

phone had been seized from a workspace in the house that BLAIR used, agents seized the flip

phone, more fully described as a Black Alcatel flip phone, Model: A405DL, FCC ID:

2ACCJN023, IMEI: 015551004180225, telephone number (301) 525-7180 (Device-2).

                     Probable Cause the Devices Contain Evidence of the Offenses

           55.   There is probable cause to believe that evidence of the Target Offenses will be

contained on Device-1 and Device-2, to include:

                 a. Images of the Confederate flag, lacrosse stick, and/or silver knife and

                    communications regarding BLAIR’s plans to use these items;

                 b. Images documenting BLAIR’s and others’ activities in Washington D.C. on

                    January 6, 2021, and in the days leading up to January 6, 2021;

                 c. Images and communications regarding preparation or plans to travel into

                    Washington, D.C., plans to meet other individuals, and plans for activity at the

                    U.S. Capitol;

                 d. Communications after January 6, 2021, recounting the events and activity at

                    the U.S. Capitol.




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                e. Furthermore, stored GPS location data would disclose where BLAIR was

                      located throughout the course of the events at the U.S. Capitol on January 6,

                      2021.

         56.        Specifically, BLAIR was in possession of an iPhone, consistent with Device-1,

 at the time he was arrested for his involvement in the criminal conduct described above. Your

 affiant believes Device-2 will contain evidence of the Target Offenses because during a review

 of the contents of Device-2 that was authorized by BLAIR’s mother, your affiant observed

 contents that appear to indicate the phone had been used recently by BLAIR (and not by his

 mother). Device-2 was recovered in close proximity to Device-1, which is also believed to be

 used by BLAIR, for the reasons indicated above.

                                        TECHNICAL TERMS

       57.     Based on my training and experience, and information acquired from other law

enforcement officials with technical expertise, I know the terms described below have the

following meanings or characteristics:

               a.         “Digital device,” as used herein, includes the following three terms and their

respective definitions:

                          1)     A “computer” means an electronic, magnetic, optical, or other high

speed data processing device performing logical or storage functions, and includes any data storage

facility or communications facility directly related to or operating in conjunction with such device.

See 18 U.S.C. § 1030(e)(1). Computers are physical units of equipment that perform information

processing using a binary system to represent information. Computers include, but are not limited




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to, desktop and laptop computers, smartphones, tablets, smartwatches, and binary data processing

units used in the operation of other products like automobiles.

                       2)      “Digital storage media,” as used herein, means any information

storage device in which information is preserved in binary form and includes electrical, optical,

and magnetic digital storage devices. Examples of digital storage media include, but are not

limited to, compact disks, digital versatile disks (“DVDs”), USB flash drives, flash memory cards,

and internal and external hard drives.

                       3)      “Computer hardware” means all equipment that can receive,

capture, collect, analyze, create, display, convert, store, conceal, or transmit electronic, magnetic,

or similar computer impulses or data. Computer hardware includes any data-processing devices

(including, but not limited to, central processing units, internal and peripheral storage devices such

as fixed disks, external hard drives, floppy disk drives and diskettes, and other memory storage

devices); peripheral input/output devices (including, but not limited to, keyboards, printers, video

display monitors, modems, routers, scanners, and related communications devices such as cables

and connections), as well as any devices, mechanisms, or parts that can be used to restrict access

to computer hardware (including, but not limited to, physical keys and locks).

               b.      “Wireless telephone” (or mobile telephone, or cellular telephone), a type of

digital device, is a handheld wireless device used for voice and data communication at least in part

through radio signals and also often through “wi-fi” networks. When communicating via radio

signals, these telephones send signals through networks of transmitters/receivers, enabling

communication with other wireless telephones, traditional “land line” telephones, computers, and

other digital devices. A wireless telephone usually contains a “call log,” which records the



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telephone number, date, and time of calls made to and from the phone. In addition to enabling

voice communications, wireless telephones offer a broad range of applications and capabilities.

These include, variously: storing names and phone numbers in electronic “address books”;

sending, receiving, and storing text messages, e-mail, and other forms of messaging; taking,

sending, receiving, and storing still photographs and video; storing and playing back audio files;

storing dates, appointments, and other information on personal calendars; utilizing global

positioning system (“GPS”) locating and tracking technology, and accessing and downloading

information from the Internet.

               c.     A “tablet” is a mobile computer, typically larger than a wireless phone yet

smaller than a notebook, that is primarily operated by touch-screen. Like wireless phones, tablets

function as wireless communication devices and can be used to access the Internet or other wired

or wireless devices through cellular networks, “wi-fi” networks, or otherwise. Tablets typically

contain programs called applications (“apps”), which, like programs on both wireless phones, as

described above, and personal computers, perform many different functions and save data

associated with those functions.

               d.     A “GPS” navigation device, including certain wireless phones and tablets,

uses the Global Positioning System (generally abbreviated “GPS”) to display its current location,

and often retains records of its historical locations. Some GPS navigation devices can give a user

driving or walking directions to another location, and may contain records of the addresses or

locations involved in such historical navigation. The GPS consists of 24 NAVSTAR satellites

orbiting the Earth. Each satellite contains an extremely accurate clock. Each satellite repeatedly

transmits by radio a mathematical representation of the current time, combined with a special



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sequence of numbers. These signals are sent by radio, using specifications that are publicly

available. A GPS antenna on Earth can receive those signals. When a GPS antenna receives

signals from at least four satellites, a computer connected to that antenna can mathematically

calculate the antenna’s latitude, longitude, and sometimes altitude with a high level of precision.

                 e.    PDA: A personal digital assistant, or PDA, is a handheld electronic device

used for storing data (such as names, addresses, appointments or notes) and utilizing computer

programs. Some PDAs also function as wireless communication devices and are used to access

the Internet and send and receive e-mail. Some PDAs include a memory card or other removable

storage media for storing data. Removable storage media include various types of flash memory

cards or miniature hard drives. This removable storage media can store any digital data. Most

PDAs run computer software, giving them many of the same capabilities as personal computers.

For example, PDA users can work with word-processing documents, spreadsheets, and

presentations.

                 f.    “Computer passwords and data security devices” means information or

items designed to restrict access to or hide computer software, documentation, or data. Data

security devices may consist of hardware, software, or other programming code. A password (a

string of alpha-numeric characters) usually operates as a digital key to “unlock” particular data

security devices. Data security hardware may include encryption devices, chips, and circuit

boards. Data security software of digital code may include programming code that creates “test”

keys or “hot” keys, which perform certain pre-set security functions when touched. Data security

software or code may also encrypt, compress, hide, or “booby-trap” protected data to make it

inaccessible or unusable, as well as reverse the progress to restore it.



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               g.      “Computer software” means digital information which can be interpreted

by a computer and any of its related components to direct the way they work. Computer software

is stored in electronic, magnetic, or other digital form. It commonly includes programs to run

operating systems, applications, and utilities.

               h.      Internet Protocol (“IP”) Address is a unique numeric address used by digital

devices on the Internet. An IP address, for present purposes, looks like a series of four numbers,

each in the range 0-255, separated by periods (e.g., 149.101.1.32). Every computer attached to the

Internet must be assigned an IP address so that Internet traffic sent from and directed to that

computer may be directed properly from its source to its destination. Most Internet service

providers control a range of IP addresses. Some computers have static—that is, long-term—IP

addresses, while other computers have dynamic—that is, frequently changed—IP addresses.

               i.      The “Internet” is a global network of computers and other electronic devices

that communicate with each other using numerous specified protocols. Due to the structure of the

Internet, connections between devices on the Internet often cross state and international borders,

even when the devices communicating with each other are in the same state.

               j.      “Internet Service Providers,” or “ISPs,” are entities that provide individuals

and businesses access to the Internet. ISPs provide a range of functions for their customers,

including access to the Internet, web hosting, e-mail, remote storage, and co-location of computers

and other communications equipment. ISPs can offer a range of options in providing access to the

Internet, including via telephone-based dial-up and broadband access via digital subscriber line

(“DSL”), cable, dedicated circuits, fiber-optic, or satellite. ISPs typically charge a fee based upon

the type of connection and volume of data, called bandwidth, which the connection supports.



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Many ISPs assign each subscriber an account name, a user name or screen name, an e-mail address,

an e-mail mailbox, and a personal password selected by the subscriber. By using a modem, the

subscriber can establish communication with an ISP and access the Internet by using his or her

account name and password.

               k.      “Domain Name” means the common, easy-to-remember names associated

with an IP address. For example, a domain name of “www.usdoj.gov” refers to the IP address of

149.101.1.32. Domain names are typically strings of alphanumeric characters, with each level

delimited by a period. Each level, read backwards – from right to left – further identifies parts of

an organization. Examples of first-level, or top-level domains are typically .com for commercial

organizations, .gov for the governmental organizations, .org for organizations, and .edu for

educational organizations. Second-level names will further identify the organization, for example

usdoj.gov further identifies the United States governmental agency to be the Department of Justice.

Additional levels may exist as needed until each machine is uniquely identifiable. For example,

www.usdoj.gov identifies the World Wide Web server located at the United States Department of

Justice, which is part of the United States government.

               l.      “Cache” means the text, image, and graphic files sent to and temporarily

stored by a user’s computer from a website accessed by the user in order to allow the user speedier

access to and interaction with that website in the future.

               m.      “Encryption” is the process of encoding messages or information in such a

way that eavesdroppers or hackers cannot read it but authorized parties can. In an encryption

scheme, the message or information, referred to as plaintext, is encrypted using an encryption

algorithm, turning it into an unreadable ciphertext. This is usually done with the use of an



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encryption key, which specifies how the message is to be encoded. Any unintended party that can

see the ciphertext should not be able to determine anything about the original message. An

authorized party, however, is able to decode the ciphertext using a decryption algorithm that

usually requires a secret decryption key, to which adversaries do not have access.

       58.     Based on my training, experience, and research, and from consulting the

manufacturer’s advertisements and product technical specifications available online at

https://support.apple.com/kb/sp726?locale=en_US, I know that the iPhone 6S has capabilities that

allow it to serve as a wireless telephone, digital camera, portable media player, GPS navigation

device, and PDA.        Similarly, the manufacturer’s advertisements and product technical

specifications available online at https://tracfoneusermanual.net/alcatel-myflip-user-manual/, for

the Alcatel A450DL, show it has capabilities that allow it to serve as a wireless phone, digital

camera, portable media player, and PDA. In my training and experience, examining data stored

on devices of this type can uncover, among other things, evidence that reveals or suggests who

possessed or used the device, and sometimes by implication who did not, as well as evidence

relating to the commission of the Target Offenses.

 COMPUTERS, ELECTRONIC/MAGNETIC STORAGE, AND FORENSIC ANALYSIS

       59.     As described above and in Attachment B, this application seeks permission to

search for evidence, fruits, contraband, instrumentalities, and information that might be found

within Device-1 in whatever form found. Based on my knowledge, training, and experience, as

well as information related to me by agents and others involved in this investigation and in the

forensic examination of digital devices, I respectfully submit that there is probable cause to believe




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that the records and information described in Attachment B will be stored in Device-1 and Device-

2 for at least the following reasons:

                a.      Based upon my training and experience, and my experience and that of other

agents investigating the Capitol Riots, I know that individuals who engage in the Target Offenses

use digital devices, like Device-1 and Device-2, to access applications and websites to facilitate

their activity and to communicate with co-conspirators online; to store on digital devices, like

Device-1 and Device-2, records and information relating to their illegal activity, which can include

photographs and videos documenting their and others’ illegal activity; logs of online chats with

co-conspirators; email correspondence; text or other “Short Message Service” (“SMS”) messages;

contact information of co-conspirators, including telephone numbers, email addresses, and

identifiers for instant messaging and social medial accounts. On this basis, and on the basis of the

facts set forth in this Affidavit, particularly, the facts in ¶¶ 35-37, 52, 55 and 56, there is probable

cause that Device-1 and Device-2 will contain evidence of the Target Offenses.

                b.      Individuals who engage in the foregoing criminal activity, in the event that

they change digital devices, will often “back up” or transfer files from their old digital devices to

that of their new digital devices, so as not to lose data, including that described in the foregoing

paragraph, which would be valuable in facilitating their criminal activity.

                c.      Digital device files, or remnants of such files, can be recovered months or

even many years after they have been downloaded onto the medium or device, deleted, or viewed

via the Internet. Electronic files downloaded to a digital device can be stored for years at little or

no cost. Even when such files have been deleted, they can be recovered months or years later

using readily-available forensics tools. When a person “deletes” a file on a digital device such as



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a home computer, a smart phone, or a memory card, the data contained in the file does not actually

disappear; rather, that data remains on the storage medium and within the device unless and until

it is overwritten by new data. Therefore, deleted files, or remnants of deleted files, may reside in

free space or slack space – that is, in space on the digital device that is not allocated to an active

file or that is unused after a file has been allocated to a set block of storage space – for long periods

of time before they are overwritten. In addition, a digital device’s operating system may also keep

a record of deleted data in a “swap” or “recovery” file. Similarly, files that have been viewed via

the Internet are automatically downloaded into a temporary Internet directory or “cache.” The

browser typically maintains a fixed amount of electronic storage medium space devoted to these

files, and the files are only overwritten as they are replaced with more recently viewed Internet

pages. Thus, the ability to retrieve “residue” of an electronic file from a digital device depends

less on when the file was downloaded or viewed than on a particular user’s operating system,

storage capacity, and computer, smart phone, or other digital device habits.

        60.     As further described in Attachment B, this application seeks permission to locate

not only electronic evidence or information that might serve as direct evidence of the crimes

described in this affidavit, but also for forensic electronic evidence or information that establishes

how Device-1 was used, the purpose of their use, who used them (or did not), and when. Based

on my knowledge, training, and experience, as well as information related to me by agents and

others involved in this investigation and in the forensic examination of digital devices, I

respectfully submit there is probable cause to believe that this forensic electronic evidence and

information will be in Device-1 because:




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               a.      Although some of the records called for by this warrant might be found in

the form of user-generated documents or records (such as word processing, picture, movie, or

texting files), digital devices can contain other forms of electronic evidence as well. In particular,

records of how a digital device has been used, what it has been used for, who has used it, and who

has been responsible for creating or maintaining records, documents, programs, applications, and

materials contained on the digital device(s) are, as described further in the attachments, called for

by this warrant. Those records will not always be found in digital data that is neatly segregable

from the hard drive, flash drive, memory card, or other electronic storage media image as a whole.

Digital data stored in Device-1 not currently associated with any file, can provide evidence of a

file that was once on the storage medium but has since been deleted or edited, or of a deleted

portion of a file (such as a paragraph that has been deleted from a word processing file). Virtual

memory paging systems can leave digital data on a hard drive that show what tasks and processes

on a digital device were recently used. Web browsers, e-mail programs, and chat programs often

store configuration data on a hard drive, flash drive, memory card, or memory chip that can reveal

information such as online nicknames and passwords. Operating systems can record additional

data, such as the attachment of peripherals, the attachment of USB flash storage devices, and the

times a computer, smart phone, or other digital device was in use. Computer, smart phone, and

other digital device file systems can record data about the dates files were created and the sequence

in which they were created. This data can be evidence of a crime, indicate the identity of the user

of the digital device, or point toward the existence of evidence in other locations. Recovery of this

data requires specialized tools and a controlled laboratory environment, and also can require

substantial time.



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               b.      Forensic evidence on a digital device can also indicate who has used or

controlled the device. This “user attribution” evidence is analogous to the search for “indicia of

occupancy” while executing a search warrant at a residence. For example, registry information,

configuration files, user profiles, e-mail, e-mail address books, chats, instant messaging logs,

photographs, the presence or absence of malware, and correspondence (and the data associated

with the foregoing, such as file creation and last-accessed dates) may be evidence of who used or

controlled the digital device at a relevant time, and potentially who did not.

               c.      A person with appropriate familiarity with how a digital device works can,

after examining this forensic evidence in its proper context, draw conclusions about how such

digital devices were used, the purpose of their use, who used them, and when.

               d.      The process of identifying the exact files, blocks, registry entries, logs, or

other forms of forensic evidence on a digital device that are necessary to draw an accurate

conclusion is a dynamic process. While it is possible to specify in advance the records to be

sought, digital device evidence is not always data that can be merely reviewed by a review team

and passed along to investigators. Whether data stored on digital devices is evidence may depend

on other information stored on the devices and the application of knowledge about how the devices

behave. Therefore, contextual information necessary to understand other evidence also falls within

the scope of the warrant.

               e.      Further, in finding evidence of how a digital device was used, the purpose

of its use, who used it, and when, sometimes it is necessary to establish that a particular thing is

not present on the device. For example, the presence or absence of counter-forensic programs,




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anti-virus programs (and associated data), and malware may be relevant to establishing the user’s

intent and the identity of the user.

                METHODS TO BE USED TO SEARCH DIGITAL DEVICES

        61.     Based on my knowledge, training, and experience, as well as information related to

me by agents and others involved in this investigation and in the forensic examination of digital

devices, I know that:

                a.      Searching digital devices can be an extremely technical process, often

requiring specific expertise, specialized equipment, and substantial amounts of time, in part

because there are so many types of digital devices and software programs in use today. Digital

devices – whether, for example, desktop computers, mobile devices, or portable storage devices –

may be customized with a vast array of software applications, each generating a particular form of

information or records and each often requiring unique forensic tools, techniques, and expertise.

As a result, it may be necessary to consult with specially trained personnel who have specific

expertise in the types of digital devices, operating systems, or software applications that are being

searched, and to obtain specialized hardware and software solutions to meet the needs of a

particular forensic analysis.

                b.      Digital data is particularly vulnerable to inadvertent or intentional

modification or destruction. Searching digital devices can require the use of precise, scientific

procedures that are designed to maintain the integrity of digital data and to recover “hidden,”

erased, compressed, encrypted, or password-protected data. Recovery of “residue” of electronic

files from digital devices also requires specialized tools and often substantial time. As a result, a




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controlled environment, such as a law enforcement laboratory or similar facility, is often essential

to conducting a complete and accurate analysis of data stored on digital devices.

              c.       Further, as discussed above, evidence of how a digital device has been used,

the purposes for which it has been used, and who has used it, may be reflected in the absence of

particular data on a digital device. For example, to rebut a claim that the owner of a digital device

was not responsible for a particular use because the device was being controlled remotely by

malicious software, it may be necessary to show that malicious software that allows someone else

to control the digital device remotely is not present on the digital device. Evidence of the absence

of particular data or software on a digital device is not segregable from the digital device itself.

Analysis of the digital device as a whole to demonstrate the absence of particular data or software

requires specialized tools and a controlled laboratory environment, and can require substantial

time.

              d.       Digital device users can attempt to conceal data within digital devices

through a number of methods, including the use of innocuous or misleading filenames and

extensions. For example, files with the extension “.jpg” often are image files; however, a user can

easily change the extension to “.txt” to conceal the image and make it appear as though the file

contains text. Digital device users can also attempt to conceal data by using encryption, which

means that a password or device, such as a “dongle” or “keycard,” is necessary to decrypt the data

into readable form.     Digital device users may encode communications or files, including

substituting innocuous terms for incriminating terms or deliberately misspelling words, thereby

thwarting “keyword” search techniques and necessitating continuous modification of keyword

terms. Moreover, certain file formats, like portable document format (“PDF”), do not lend



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themselves to keyword searches. Some applications for computers, smart phones, and other digital

devices, do not store data as searchable text; rather, the data is saved in a proprietary non-text

format. Documents printed by a computer, even if the document was never saved to the hard drive,

are recoverable by forensic examiners but not discoverable by keyword searches because the

printed document is stored by the computer as a graphic image and not as text. In addition, digital

device users can conceal data within another seemingly unrelated and innocuous file in a process

called “steganography.” For example, by using steganography, a digital device user can conceal

text in an image file that cannot be viewed when the image file is opened. Digital devices may

also contain “booby traps” that destroy or alter data if certain procedures are not scrupulously

followed. A substantial amount of time is necessary to extract and sort through data that is

concealed, encrypted, or subject to booby traps, to determine whether it is evidence, contraband,

or instrumentalities of a crime.

              e.       Analyzing the contents of mobile devices, including tablets, can be very

labor intensive and also requires special technical skills, equipment, and software. The large, and

ever increasing, number and variety of available mobile device applications generate unique forms

of data, in different formats, and user information, all of which present formidable and sometimes

novel forensic challenges to investigators that cannot be anticipated before examination of the

device. Additionally, most smart phones and other mobile devices require passwords for access.

For example, even older iPhone 4 models, running IOS 7, deployed a type of sophisticated

encryption known as “AES-256 encryption” to secure and encrypt the operating system and

application data, which could only be bypassed with a numeric passcode. Newer cell phones

employ equally sophisticated encryption along with alpha-numeric passcodes, rendering most



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smart phones inaccessible without highly sophisticated forensic tools and techniques, or assistance

from the phone manufacturer. Mobile devices used by individuals engaged in criminal activity are

often further protected and encrypted by one or more third party applications, of which there are

many. For example, one such mobile application, “Hide It Pro,” disguises itself as an audio

application, allows users to hide pictures and documents, and offers the same sophisticated AES-

256 encryption for all data stored within the database in the mobile device.

               f.     Based on all of the foregoing, I respectfully submit that searching any digital

device for the information, records, or evidence pursuant to this warrant may require a wide array

of electronic data analysis techniques and may take weeks or months to complete. Any pre-defined

search protocol would only inevitably result in over- or under-inclusive searches, and misdirected

time and effort, as forensic examiners encounter technological and user-created challenges,

content, and software applications that cannot be anticipated in advance of the forensic

examination of Device-1. In light of these difficulties, your affiant requests permission to use

whatever data analysis techniques reasonably appear to be necessary to locate and retrieve digital

information, records, or evidence within the scope of this warrant.

       62.     In searching for information, records, or evidence, further described in Attachment

B, law enforcement personnel executing this search warrant will employ the following procedures:

               a.   Device-1, and/or any digital images thereof created by law enforcement,

sometimes with the aid of a technical expert, in an appropriate setting, in aid of the examination

and review, will be examined and reviewed in order to extract and seize the information, records,

or evidence described in Attachment B.




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               b.   The analysis of the contents of Device-1 may entail any or all of various

forensic techniques as circumstances warrant. Such techniques may include, but shall not be

limited to, surveying various file “directories” and the individual files they contain (analogous to

looking at the outside of a file cabinet for the markings it contains and opening a drawer believed

to contain pertinent files); conducting a file-by-file review by “opening,” reviewing, or reading the

images or first few “pages” of such files in order to determine their precise contents; “scanning”

storage areas to discover and possibly recover recently deleted data; scanning storage areas for

deliberately hidden files; and performing electronic “keyword” searches through all electronic

storage areas to determine whether occurrences of language contained in such storage areas exist

that are related to the subject matter of the investigation.

               c.   In searching Device-1, the forensic examiners may examine as much of the

contents of the digital devices as deemed necessary to make a determination as to whether the

contents fall within the items to be seized as set forth in Attachment B. In addition, the forensic

examiners may search for and attempt to recover “deleted,” “hidden,” or encrypted data to

determine whether the contents fall within the items to be seized as described in Attachment B.

Any search techniques or protocols used in searching the contents of Device-1 will be specifically

chosen to identify the specific items to be seized under this warrant.

       AUTHORIZATION TO SEARCH AT ANY TIME OF THE DAY OR NIGHT

       63.      Because forensic examiners will be conducting their search of Device-1 in a law

enforcement setting over a potentially prolonged period of time, I respectfully submit that good

cause has been shown, and therefore request authority, to conduct the search at any time of the day

or night.



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                                        CONCLUSION

              64.     I submit that this affidavit supports probable cause for a warrant to search

       Device-1 described in Attachment A and to seize the items described in Attachment B.

                                                 Respectfully submitted,




                                                 Jonathan B. Fugitt
                                                 Special Agent
                                                 Federal Bureau of Investigation



       Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on this 2nd day of
February, 2021.


       _________________________________________
       ROBIN M. MERIWEATHER
       UNITED STATES MAGISTRATE JUDGE




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